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                    UNITED STATES DISTRICT COURT
                        DISTRICT OF MINNESOTA
                   Criminal No. 11-228 (MJD/JJK)


UNITED STATES OF AMERICA,        )
                                 )
               Plaintiff,        )
                                 )
          v.                     )           ORDER
                                 )
                                 )
                                 )
Gerald Joseph Durand (2)         )
aka Jerry Durand and             )
                                 )
                                 )
                                 )
                                 )
               Defendant.        )




     The Government’s Motion [Doc. #359], requesting an evidentiary

hearing for defendant Durand is GRANTED. The hearing shall be held

on January 3, 2013 after the first evidentiary hearing in Courtroom

15E before Chief Judge Michael J. Davis.




Dated: December 28, 2012



                            s/Michael J. Davis
                            THE HONORABLE MICHAEL J. DAVIS
                            Chief Judge
                            United States District Court
